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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 UNITED STATES OF AMERICA,                     §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §
                                                     Criminal Action No. 4:21-cr-5-O
                                               §
 THE BOEING COMPANY,                           §
                                               §
        Defendant.                             §

                                            ORDER

       Having considered the Government’s Status Report and Consent Motion to Continue the

Motions In Limine Deadline, the Court hereby ORDERS that:

       The deadline for the parties to file motions in limine is hereby CONTINUED from May

27, 2025, to June 2, 2025. All other deadlines in the trial Scheduling Order (ECF No. 294) remain

the same.

       SO ORDERED on this 23rd day of May, 2025.


                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE
